       Case 2:18-cr-00005-DLC Document 2 Filed 04/06/18 Page 1 of 5



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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                        BUTTE DIVISION


 UNITED STATES OF AMERICA,              CR 18-0$,BU- ~LC..

            Plaintiff,                  INDICTMENT

      vs.                               CONSPIRACY TO MANUFACTURE
                                        AND DISTRIBUTE CONTROLLED
                                        SUBSTANCES
 ADAM WALTER CAMPBELL,                  (Count I)
                                        Title 21 U.S.C. § 846
                                        (Penalty for marijuana plants: Mandatory
            Defendant.                  minimum ten years to life imprisonment,
                                        $10,000,000 fine, and at least five years
                                        supervised release)
                                        (Penalty for hash oil: 20 years
                                        imprisonment, $1,000,000 fine, and at least
                                        three years supervised release)

                                        POSSESSION WITH INTENT TO
                                        DISTRIBUTE MARIJUANA
                                        (Count II)
                                        Title 21 U.S.C. § 841(a)(I) and
                                        Title 18 U.S.C. § 2



                                    I
         Case 2:18-cr-00005-DLC Document 2 Filed 04/06/18 Page 2 of 5



                                            (Penalty for marijuana plants: Mandatory
                                            minimum ten years to life imprisonment,
                                            $10,000,000 fine, and at least five years
                                            supervised release)
                                            (Penalty for hash oil: 20 years
                                            imprisonment, $1,000,000 fine, and at least
                                            three years supervised release)

                                            MAINTAINING DRUG-INVOLVED
                                            PREMISES
                                            (Count III)
                                            Title 21 U.S.C. § 856 and
                                            Title 18 U.S.C. § 2
                                            (Penalty: 20 years
                                            imprisonment, $500,000 fine, and at least
                                            three years supervised release)

                                            FORFEITURE
                                            21 u.s.c. § 853

                                            TITLE 21 PENAL TIES MAY BE
                                            ENHANCED FOR PRIOR DRUG
                                            RELATED FELONY CONVICTIONS


THE GRAND JURY CHARGES:

                                    COUNT!

      That beginning in approximately 2010 and continuing until on or about May

18, 2016, at Bozeman, in Gallatin County, in the State and District of Montana,

and elsewhere, including California and Ohio, the defendant, ADAM WALTER

CAMPBELL, knowingly and unlawfully conspired and agreed with other persons,

both known and unknown to the Grand Jury, to manufacture and distribute, in

violation of 21 U.S.C. § 841(a)(l), more than 1,000 marijuana plants, and


                                        2
         Case 2:18-cr-00005-DLC Document 2 Filed 04/06/18 Page 3 of 5



marijuana in the form of butane hash oil, Schedule I controlled substances, in

violation of21 U.S.C. § 846.

                                    COUNT II

      That beginning in approximately 2010 and continuing until on or about May

18, 2016, at Bozeman, in Gallatin County, in the State and District of Montana,

and elsewhere, including California and Ohio, the defendant, ADAM WALTER

CAMPBELL, knowingly possessed, with the intent to distribute, more than 1,000

marijuana plants, and marijuana in the form of butane hash oil, Schedule I

controlled substances, and aided and abetted the same, in violation of

21 U.S.C. § 84l(a)(l) and 18 U.S.C. § 2.

                                    COUNT III

      That beginning in approximately 2010 and continuing until on or about May

18, 2016, at Bozeman, in Gallatin County, and elsewhere in the State and District

of Montana, the defendant, ADAM WALTER CAMPBELL, knowingly and

unlawfully used and maintained places located at 152 Zoot Way, 154 Zoot Way,

and 160 Zoot Way, in Bozeman for the purpose of manufacturing and distributing

marijuana, a Schedule I controlled substance, and aided and abetted the same, in

violation of21 U.S.C. § 856(a)(l) and 18 U.S.C. § 2.




                                           3
            Case 2:18-cr-00005-DLC Document 2 Filed 04/06/18 Page 4 of 5



                            FORFEITURE ALLEGATION

       1.      The allegations contained in Counts I, II, and III of this Indictment are

hereby realleged and incorporated by reference for the purpose of alleging

forfeitures pursuant to 21 U.S.C. § 853.

      2.       Pursuant to 21 U.S.C. § 853, upon conviction of an offense in

violation of21 U.S.C. §§ 841,846, and 856 the defendant, ADAM WALTER

CAMPBELL, shall forfeit to the United States of America any property

constituting and derived from any proceeds obtained, directly and indirectly, as the

result of such offenses and any property used and intended to be used, in any

manner or part, to commit and to facilitate the commission of, the offenses. The

property to be forfeited includes, but is not limited to, the following:

      A.       REAL PROPERTY

               (1)   Commercial property located at 152 Zoot Way, Bozeman,
                     Montana;

               (2)   Commercial property located at 154 Zoot Way, Bozeman,
                     Montana;

   3. the United States of America shall be entitled to forfeiture of substitute

      property pursuant to Title 21, United States Code, Section 853(p), if any of

      the property described above, as a result of any act or omission of the

      defendant:


                                            4
            Case 2:18-cr-00005-DLC Document 2 Filed 04/06/18 Page 5 of 5



                a.    cannot be located upon the exercise of due diligence;

                b.    has been transferred or sold to, or deposited with, a third party;

                c.    has been placed beyond the jurisdiction of the court;

                d.    has been substantially diminished in value; or

                e.    has been commingled with other property which cannot be

                      divided without difficulty,

          A TRUE BILL.            Foreperson signature redacted. Original document filed under
                                  seal.




    KURTG.ALME
    United States Attorney




€   Criminal Chiof As~sturt U.S. Attorney




                                                                Crim. Summons
                                                                               ·--
                                                                Warrant,     V::::
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                                                                Bail,


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